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                                                                 1    J. BRUCE ALVERSON, ESQ.
                                                                      Nevada Bar No. 1339
                                                                 2    KARIE N. WILSON, ESQ.
                                                                      Nevada Bar No. 7957
                                                                 3    ALVERSON TAYLOR & SANDERS
                                                                      6605 Grand Montecito Pkwy, Ste. 200
                                                                 4    Las Vegas, NV 89149
                                                                      702-384-7000 Phone
                                                                 5    702-385-7000 Fax
                                                                      Attorneys for Defendants
                                                                 6

                                                                 7                                UNITED STATES DISTRICT COURT
                                                                                                       DISTRICT OF NEVADA
                                                                 8

                                                                 9    MICHAEL STONE                                        CASE NO:

                                                                10                                 Plaintiff,
                                                                                                                           DEFENDANT NEW PRIME, INC.’S
ALVERSON TAYLOR & SANDERS




                                                                11    v.                                                   NOTICE OF REMOVAL
                            6605 GRAND MONTECITO PKWY STE 200




                                                                12    GABRIEL P. GUILLERMO, individually; NEW
                                    LAS VEGAS, NV 89149




                                                                      PRIME, INC., a Foreign Corporation;
                                        (702) 384-7000




                                                                13    DOES I through X; inclusive; and ROE
                                          LAWYERS




                                                                      BUSINESS ENTITIES I through X,
                                                                14    inclusive,

                                                                15                            Defendants.
                                                                      __________________________________________
                                                                16

                                                                17    TO:    DEBRA KEMPI, Clerk, United States District Court for the District of Nevada

                                                                18           PLEASE TAKE NOTICE that Defendant NEW PRIME, INC. hereby removes to this

                                                                19    Court the state court action entitled “MICHAEL STONE, Plaintiff v. GABRIEL P.

                                                                20    GUILLERMO, individually; NEW PRIME, INC., a Foreign Corporation; DOES I through X;

                                                                21    inclusive; and ROE BUSINESS ENTITIES I through X, inclusive,” Case No. A-22-848213-C

                                                                22    filed in the Eighth Judicial District Court for Clark County, Nevada. A copy of the Complaint is

                                                                23    attached hereto as Exhibit A. The grounds for removal are:

                                                                24    ...

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                                                                 1           1.        This Court has original subject matter jurisdiction over this action pursuant to 28

                                                                 2    U.S.C. § 1332 and 28 U.S.C. §§ 1441(a)-(c), in that it is a civil action between Plaintiff, a citizen

                                                                 3    of Texas, Defendants who are citizens of diverse residency, none of which reside in Texas, and

                                                                 4    the matter in controversy exceeds $75,000.00, exclusive of interest and costs, as set forth below.

                                                                 5           2.        Based upon information and belief, Plaintiff MICHAEL STONE is a citizen of

                                                                 6    the State of Texas. See Complaint ¶ 2.

                                                                 7           3.        Defendant GABRIEL P. GUILLERMO is a resident of the State of Nevada.

                                                                 8           4.        Defendant NEW PRIME, INC. is a corporation incorporated in the State of

                                                                 9    Nebraska, with its principal place of business in Springfield, Missouri.

                                                                10           5.        The   Defendants    sued   as   DOES     I   through   X,   inclusive   and   ROE
ALVERSON TAYLOR & SANDERS




                                                                11    CORPORATIONS I through XX, inclusive, are fictitious parties and not relevant to the
                            6605 GRAND MONTECITO PKWY STE 200




                                                                12    determination of subject matter jurisdiction. See 28 U.S.C. § 1441(a) (stating “For purposes of
                                    LAS VEGAS, NV 89149
                                        (702) 384-7000




                                                                13    removal under this chapter, the citizenship of defendants sued under fictitious names shall be
                                          LAWYERS




                                                                14    disregarded”).

                                                                15           6.        Based upon information and belief, the amount in controversy, exclusive of

                                                                16    interest and costs, exceeds $75,000.00. Upon information and belief, Plaintiff MICHAEL

                                                                17    STONE is alleging to have incurred injury to his property, health, person, emotional well-being,

                                                                18    and earning capacity. Plaintiff has alleged both past and future damages including medical

                                                                19    treatment, lost wages, loss of household services, pain and suffering, and property damage. It is

                                                                20    therefore expected that Plaintiff’s medical damages and the amount in controversy exceeds the

                                                                21    jurisdictional requirement. See Complaint ¶ 10 and 12.

                                                                22    ...

                                                                23    ...

                                                                24    ...

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                                                                 1           7.      Venue is appropriate in this Court pursuant to 28 U.S.C. §§ 1441(a) and 1446(a)-

                                                                 2    (b) and Local Rule 8-1. This action was originally filed in the Eighth Judicial District for the

                                                                 3    State of Nevada, Clark County.

                                                                 4           8.      This notice of removal is timely filed within thirty (30) days after receipt of the

                                                                 5    paper that makes this case removable as required by 28 U.S.C. § 1446(b), in that it is filed within

                                                                 6    thirty (30) days of the Summons and Complaint which was filed on February 11, 2022, and

                                                                 7    served upon Defendant New Prime, Inc. on March 7, 2022. Upon information and belief,

                                                                 8    Defendant Gabriel Guillermo has not been served with the Summons and Complaint.

                                                                 9           9.      Pursuant to 28 U.S.C. 1446(d), Defendant has prepared and will file with the

                                                                10    Clerk of the Eighth Judicial District Court a Notice of Removed Action.
ALVERSON TAYLOR & SANDERS




                                                                11           Dated this 15th day of March, 2022.
                            6605 GRAND MONTECITO PKWY STE 200




                                                                12                                                         ALVERSON TAYLOR & SANDERS
                                    LAS VEGAS, NV 89149
                                        (702) 384-7000




                                                                13
                                          LAWYERS




                                                                                                                           ____________________________________
                                                                14                                                         J. BRUCE ALVERSON, ESQ.
                                                                                                                           Nevada Bar No. 1339
                                                                15                                                         KARIE N. WILSON, ESQ.
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                                                                18                                                         Attorneys for Defendants

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                                                                 1                                      CERTIFICATE OF ELECTRONIC SERVICE

                                                                 2              I certify that on the 17th day of March, 2022, service of the above and foregoing

                                                                 3    DEFENDANT NEW PRIME, INC.’S NOTICE OF REMOVAL was made by electronically

                                                                 4    filing a true and correct copy of the same to each party addressed as follows:

                                                                 5    Roland Christensen, Esq.
                                                                      Caj Boatright, Esq.
                                                                 6    Samantha Demuren, Esq.
                                                                      ARNOLD & ITKIN
                                                                 7    6009 Memorial Drive
                                                                      Houston, Texas 77007
                                                                 8
                                                                      - and -
                                                                 9
                                                                      Matthew D. Minucci, Esq.
                                                                10    THE COTTLE FIRM
                                                                      8635 Eastern Avenue
ALVERSON TAYLOR & SANDERS




                                                                11    Las Vegas, Nevada 89123
                            6605 GRAND MONTECITO PKWY STE 200




                                                                      Attorneys for Plaintiff
                                                                12
                                    LAS VEGAS, NV 89149
                                        (702) 384-7000




                                                                13
                                          LAWYERS




                                                                14                                                             Employee of ALVERSON TAYLOR & SANDERS

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